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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MICHAEL R. FANNING, as CHJEF EXECUTIVE )
OFFICER ()F THE CENTRAL PENSION FUND )
OF THE INTERNATIONAL UNION OF OPERATING )
ENGINEERS AND PARTICIPATING EMPLOYERS )
4115 Chesapeake Street, N.W. )
Washington, D.C. 20016, )
)

Plaintiff, )

)

v. )

)

MOUNTAIN CRANE SERVICE, LLC )
393 South 2650 West )
Riverton, Utah 84065, )
)

Serve: Registered Agent )

Paul P. Burghardt )

393 South 2650 West )

Riverton, Utah 84065, )

)

Defendant. )

L)M

(TO COLLECT CONTRIBUTIONS AND DAMAGES DUE TO EMPLOYEE
BENEFIT FUND AND FOR ADDITIONAL EQUITABLE RELIEF)

Plaintiff, pursuant to Federal Rule of Civil Procedure S(a), hereby alleges the
following
PAR'I`IES
1. Plaintiff, Michael R. Fanning, is the Chief Executive Off`lcer of the Central
Pensien Fund of the lnternational Union of Operating Engineers and Participating
Ernpleyers (hereinafter "Central Pension Fund"). The Central Pension Fund is an
employee benefit plan as that term is defined in Section 3(1) of the Ernployee Retirement

lncc)rne Security Act of 1974 ("ERISA"), 29 U.S.C. § 1002(1). The Central Pension

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Fund is a multiemployer plan as that term is detined in Section 3(37) of ERISA, 29
U.S.C. § 1002(37). The Central Pension Fund Was established and is maintained in
accordance With its Restated Agreement and Declaration of Trust. The Central Pension
Fund is administered by the Trustees at 41 15 Chesapeake Street, N.W., Washington, D.C.
20016. The Plaintiff, Michael R. Fanning, C.E.O. of the Central Pension Fund, is a
designated fiduciary in accordance with the Central Pension Fund's Restated Agreernent
and Declaration of Trust and as defined in Section 3(21) of ERlSA, 29 U.S.C. §
1002(21).

2. Defendant Mountain Crane Seiyice, LLC is a Utah corporation With office
addresses at 393 South 2650 WestJ in Riverton, Utah, and 393 S. l\/lonterey Street, in Salt
Lake City, Utah, and at all times relevant to this action has been an “employer in an industry
affecting commerce” as defined in Sections 3(5), (9), (11), and (12) of ERlSA, 29 U.S.C. §§
1002(5), (9), (11) and (12), and Section 3 of the Multi-Employer Pension Plan Ainendments
Act of1980, 29 U.S.C. § 1001a.

JURISDICTION AND VENUE

3. This is an action to collect contributions due to an employee benefit plan
under the terms of collective bargaining agreements and a trust agreement This Court has
subject matter jurisdiction under §§ 502(a) (3), (g) and 515 of ERISA, 29 U.S.C. §§
1132(a)(3), (g) and 1145.

4. This Court has personal jurisdiction over the Defendant pursuant to Section

502 ofERlSA, 29 U.S.C. § 1132(e)(2).

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5. Venue is proper in this district pursuant to Section 502(e)(2) of ERISA, 29

U.S.C. § 1132(€)(2).
was

6. Defendant has been bound at all relevant times to Collective Bargaining
Agreements With Intemational Union of Operating Engineers Local Union No. 800 that
govern the wages, benefits and terms and conditions of employment of certain employees
performing Worl< for the Defendant Within the jurisdiction of Local Union No. 800.

7. Pursuant to the Agreements the Defendant agreed to pay certain sums of
money to the Central Pension Fund for certain hours Worked by the employees of the
Defendant performing Worl< covered by the Agreements.

8. During the period of January 2011 to December 2016 the Defendant
employed employees performing Work covered by the Agreements.

9. During the period of lanuaiy 2011 to December 2016 the Defendant failed to
pay all contributions owing to the Central Pension Fund.

10. Pursuant to the Central Pension Fund's Restated Agreement and Declaration
of Trust an employer who fails to pay required contributions is liable for liquidated damages
in the amount of 20% of the total contributions owed.

11. Pursuant to the Central Pension Fund's Restated Agreement and Declaration
of Trust an employer Who fails to pay required contributions is liable for interest at the rate
of 9% per annum.

12. Pursuant to the Central Pension Fund's Restated Agreement and Declaration
of Trust an employer Who fails to pay required contributions is liable for all attomeys' fees,

audit fees and costs.

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(UNPAID CONTRIBUTIONS AND DAMAGES OWED
TO EMPLOYEE BENEFIT FUND)

13. Plaintiff hereby restates and incorporates by reference the allegations set
forth in paragraphs 1 through 12 as if fully set forth in this Count 1.

14. ln October 2015 Calibre CPA Group PLLC began payroll audits of the
records supplied by the Defendant for Employer ldentification Number 32913 covering
account number 221371 for the periods of January 2011 to December 2013 and January
2014 to December 2016 for work performed under the Agreements.

15. The results of the audits revealed that during the months of January 2011
to December 2013 the Defendant failed to pay all contributions owing to the Central
Pension Fund under the Agreements in the total amount of $1,344.00.

16. The results of the audits revealed that during the months of January 2014
to December 2016 the Defendant failed to pay all contributions owing to the Central

Pension Fund under the Agreements in the total amount of $20,785.53.

17. The Plaintiff first became aware of this delinquency as a result of the audit
findings
18. The Defendant failed to pay the amount of contributions owing to the

Central Pension Fund as revealed by the audit.

19. By virtue of the failure to pay all amounts as contractually required, the
Defendant is in contravention of the Agreements, the obligations under the Central
Pension Fund’s Restated Agreernent and Declaration of Trust, and Section 515 of ERISA.

20. The Defendant has failed to pay liquidated damages and interest for late and

unpaid contributions owed to the Central Pension Fund as well as the cost of the audit.

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21. The Central Pension Fund is entitled to judgment for all remaining
contributions owed, plus all unpaid liquidated damages and interest owed on late and unpaid
contributions, plus attorneys' fees, costs and audit fees against the Defendant.

COUNT II
(AUDIT)

22. Plaintiff hereby restates and incorporates by reference the allegations set
forth in paragraphs l through 21 as if fully set forth in this Count 11.

23. An audit of the Defendant’s records from January 2017 to the present will
permit the Plaintiff to determine whether the Defendant properly reported the amounts owed
to the Plaintiff under the Agreements.

24. Under the terms of the Plaintiff" s Restated Agreement and Declaration of
Trust, Plaintiff is entitled to conduct an audit of Defendant’s records, at the Defendant’s
expense

WHEREF()RE, Plaintiff prays judgment against the Defendant on Counts 1 and 11
of the Complaint as follows:

A. F or unpaid contributions due and owing to the Plaintiff for work performed
during the months of January 2011 to December 2016 in the total amount of $22,1 29.53.

B. For liquidated damages and interest for any unpaid contributions owed as
provided for in the Central Pension Fund’s Restated Agreement and Declaration of Trust
and pursuant to 29 U.S.C. § 1132(g)(2) and up to the date of judgment

C. For costs, audit fees and reasonable attorneys' fees as required by 29 U.S.C.
§ 1132(g)(2) and the Central Pension Fund’s Restated Agreement and Declaration of Trust

up to the date of judgment

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D. For a Court Order requiring Defendant to submit all necessary books and
records to Plaintiff for audit at the Defendant’s cost for the period of January 2017 through
the date the audit is performed _

E. For any and all contributions, liquidated damages, and interest owed to the
Plaintiff which become due as a result of the audit and up to the date of judgment plus costs,
interest, audit and reasonable attorneys’ fees pursuant to the Agreements, the Plaintiff"s

Restated Agreement and Declaration of Trust, and 29 U.S.C. § 1132(g)(2).

F. Such further relief as the Court deems appropriate
Respectfully submitted,
Date: November 15, 2017 O’DONOGHUE & O’DONOGHUE LLP
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